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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

 UNITED STATES OF AMERICA

 -vs-                                                  Case No. 6:02-CR-110-ORL-36GJK

 BOBBY LOUIS BELLAMY
 ____________________________________


                                     ORDER AND NOTICE
                                  OF SHOW CAUSE HEARING

        This cause comes before the Court on a Report and Recommendation (Doc. No. 798), entered

 by the Magistrate Judge after conducting a Final Probation Revocation Hearing pursuant to Local

 Rule 6.01(c)(16) on December 18, 2013.

        After an independent de novo review of the record in this matter, noting that the 14 day

 objection period has expired and no objections were filed, the Court agrees entirely with the findings

 of fact and conclusions of law in the Report and Recommendation.

        Therefore, it is ORDERED as follows:

        1.      The Report and Recommendation entered December 18, 2013 (Doc. 798) is

                ADOPTED and CONFIRMED and made a part of this Order.

        2.      Defendant shall personally appear on January 14, 2014 at 3:45 p.m. before the

                Charlene Edwards Honeywell, United States District Judge, in Courtroom # 5B,

                Fifth Floor, U.S. District Court, 401 West Central Blvd., Orlando, Florida and shall

                show cause why probation or supervised release should not be revoked.

        DONE and ORDERED in Chambers, Orlando, Florida on 7th day of January 2014.
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 The United States Attorney is responsible for issuing any necessary writ to obtain defendant's
 presence at this hearing. Should the U.S. Marshal determine that a writ is necessary to obtain
 defendant's presence and that no writ has been received, the U.S. Marshal shall immediately
 advise the U.S. Attorney to deliver such writ in sufficient time to cause defendant's presence at
 such hearing.



 Copies to:
 United States Magistrate Judge
 Counsel for Defendant
 United States Attorney
 United States Marshal Service
 United States Probation Office
 Courtroom Deputy Clerk
